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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA                                         NJC
                                 Case Number: 19-cr-20450-SCOLA
                                                                                          Feb 23, 2021
  UNITED STATES OF AMERICA,

                          Plaintiff,                                                                     MIAMI
                  v.                                                 EX PARTE
                                                                  FILED UNDER SEAL
  ALEX NAIN SAAB MORAN,

                          Defendant.
  ___________________________________/

                                          MOTION TO SEAL

          NOW COMES the United States of America, by and through its undersigned counsel, and

  respectfully requests that the foregoing Ex Parte Notice Of Additional Facts In Support Of

  Response In Opposition To Defendant’s Motion To Vacate Order Conferring Fugitive Status And

  For Leave For Special Appearance To Challenge Indictment (“Ex Parte Notice”), this motion, any

  sealing order, and any order concerning the Ex Parte Notice, be SEALED until further order of

  this Court, excepting the United States Attorney’s Office and the Department of Justice, Criminal

  Division, Fraud Section, which may obtain copies of the Ex Parte Notice, this motion to seal,

  related sealed orders, or other sealed document for any necessary cause, for the reasons that the

  integrity of this case may be compromised, and the safety of the Defendant and his family may be

  put at risk, should these documents become public. Undersigned counsel files the attached Ex

  Parte Notice pursuant to United States District Court for the Southern District of Florida Local

  Rule 5.4(d), and in light of the fact that in this criminal case denial of public access is “necessitated
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  by a compelling governmental interest, and is narrowly tailored to serve that interest.” Globe

  Newspaper Co. v. Superior Court for the County of Norfolk, 457 U.S. 596, 606-07 (1982). The

  attached Ex Parte Notice is a supplement to the United States’ public filing Docket Entry 24.

                                                      Respectfully submitted,

                                                       ARIANA FAJARDO ORSHAN
                                                       UNITED STATES ATTORNEY

                                                       By:
                                                             Kurt K. Lunkenheimer
                                                             Assistant U.S. Attorney
                                                             Court ID No. A5501535
                                                             99 N.E. 4th Street
                                                             Miami, Florida 33132-2111
                                                             TEL (305) 961-9008
                                                             Kurt.Lunkenheimer@usdoj.gov

                                                       DANIEL S. KAHN
                                                       ACTING CHIEF, FRAUD SECTION
                                                       Criminal Division
                                                       U.S. Department of Justice

                                                       By:
                                                               Alexander Kramer
                                                               Trial Attorney
                                                               Criminal Division, Fraud Section
                                                               U.S. Department of Justice
                                                               Court ID No. A5502240
                                                               1400 New York Ave. NW
                                                               Washington, DC 20005
                                                               TEL (202) 768-1919
                                                               alexander.kramer@usdoj.gov
